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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF CALIFORNIA

                                     SAN JOSE DIVISION

Vikram Valame,                                   )
                                                 )
                              Plaintiff,         )
                                                 )
v.                                               ) Civil No. 5:23-cv-03018-NC
                                                 )
JOSEPH R. BIDEN, et al.,                         )
                                                 )
                              Defendants.        )
                                                 )
                                                 )


                                     PROOF OF SERVICE

     I served the summons, complaint, initial case management scheduling order with ADR

Deadlines (Doc. No. 2), Magistrate Judge Cousins civil standing order, Magistrate Judge

Cousins settlement conference standing order, the standing order for all judges of the Northern

District of California (contents of case management statement), and a notice of assignment of

case to a United States Magistrate Judge for trial in the above captioned case on the United

States of America by sending it via United States Postal Service certified mail, postage prepaid

to Merrick Garland, the Attorney General of the United States, 950 Pennsylvania Ave.,

NW, Washington, D.C. 20530. A certified mail receipt (No. 70223330000172986119) is attached.

       Delivery was made upon said defendant on July 14, 2023. Confirmation of delivery is

attached.

       This the 2nd Day of August, 2023.


                                                            Respectfully Submitted,
                                                            /s/ Rajashree Valame
                                                            Rajashree Valame
                                                            4039 2nd Street
                                                            Palo Alto, California 94306
                                                            rajvalame@hotmail.com
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